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           WILLIAM LEVINS                                     August 02, 2019
           LEVINS vs HEALTHCARE REVENUE RECOVERY                            1

      ·1· · · · · · · UNITED STATES DISTRICT COURT
      · · · · · · · · · · DISTRICT OF NEW JERSEY
      ·2· · · · · · · CASE NO.· 1:17-CV-00928-RBK-KMW

      ·3

      ·4· ·ELAINE LEVINS and WILLIAM LEVINS,
      · · ·on behalf of themselves and others
      ·5· ·similarly situated,

      ·6· · · · · · ·Plaintiff(s),

      ·7· · · · vs.

      ·8· ·HEALTHCARE REVENUE RECOVERY GROUP,
      · · ·LLC, d/b/a ARS ACCOUNT RESOLUTION
      ·9· ·SERVICES,

      10· · · · · · ·Defendant(s).

      11· ·______________________________

      12· · · · · ·DEPOSITION UNDER ORAL EXAMINATION OF

      13· · · · · · · · · · · WILLIAM LEVINS

      14· · · · · · · · · ·DATE:· August 2, 2019

      15· · · · · · REPORTED BY:· MICHAEL FRIEDMAN, CCR

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      · · · · · · · ·ESQUIRE DEPOSITION SOLUTIONS, LLC
      23· · · · · · · · 1384 Broadway - 22nd Floor
      · · · · · · · · · ·New York, New York· 10018
      24· · · · · · · · · · · (212) 687-2010

      25· ·JOB· #· J 4202544


                                                         800.211.DEPO (3376)
                                                         EsquireSolutions.com




                            Exhibit 15                               page 1 of 3
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          WILLIAM LEVINS                                       August 02, 2019
          LEVINS vs HEALTHCARE REVENUE RECOVERY                             11

      ·1· · · · Q· · And do you have any knowledge of
              WILLIAM LEVINS                               August 02, 2019
              LEVINS vs HEALTHCARE REVENUE RECOVERY
      ·2· ·what abbreviation, if any, ARS Account
      ·3· ·Resolution Services, uses?
      ·4· · · · A· · No.
      ·5· · · · Q· · Do you have any knowledge one way
      ·6· ·or the other what appears on a credit card
      ·7· ·statement if a payment is made to ARS Account
      ·8· ·Resolution Services?
      ·9· · · · · · ·MR. STERN:· Objection to the form.
      10· · · · A· · Can you repeat that?
      11· · · · Q· · Sure.· Do you have any idea what
      12· ·appears on your credit card statement if you
      13· ·make a payment to ARS Account Resolution
      14· ·Services?
      15· · · · · · ·MR. STERN:· Same objection.
      16· · · · A· · I have no idea how to answer that.
      17· ·It's pretty confusing.
      18· · · · Q· · Okay.· Have you ever made a payment
      19· ·to defendant?
      20· · · · A· · Not -- what defendant, ARS?· The
      21· ·Account Resolution Services?
      22· · · · Q· · Yes.
      23· · · · A· · I have no idea.
      24· · · · Q· · Okay.· And have you ever received a
      25· ·collection letter from the defendant? 800.211.DEPO   (3376)
                                                 EsquireSolutions.com


                                                         800.211.DEPO (3376)
                                                         EsquireSolutions.comYVer1f




                             Exhibit 15                                page 2 of 3
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          WILLIAM LEVINS                                        August 02, 2019
          LEVINS vs HEALTHCARE REVENUE RECOVERY                              12

      ·1· · · · A· · I couldn't actually answer that.
              WILLIAM LEVINS                                August 02, 2019
              LEVINS vs HEALTHCARE REVENUE RECOVERY
      ·2· ·Don't know.
      ·3· · · · Q· · Okay.· Do you know how -- strike
      ·4· ·that.
      ·5· · · · · · ·Do you know what name ARS Account
      ·6· ·Resolution Services uses when it has
      ·7· ·communications with the public?
      ·8· · · · A· · I do not.
      ·9· · · · Q· · Okay.
      10· · · · A· · I would assume it would be Account
      11· ·Resolution Services.
      12· · · · Q· · What is the basis for that
      13· ·assumption?
      14· · · · A· · You repeated it multiple times.
      15· · · · Q· · Other than me repeating it multiple
      16· ·times, what is the basis for that assumption?
      17· · · · · · ·MR. STERN:· Asked and answered.
      18· · · · · · ·MR. FRISCHBERG:· Asked and
      19· · · · answered.
      20· · · · · · ·MR. STERN:· You asked him the
      21· · · · question, he answered --
      22· · · · · · ·MR. SCHEUERMAN:· He can still
      23· · · · answer.
      24· · · · Q· · Other than me repeating it -- it's
                                                       800.211.DEPO (3376)
      25· ·a different question.                       EsquireSolutions.com


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                                                          EsquireSolutions.com YVer1f




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